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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

Estate of ERIC JACK LOGAN, deceased                  )
                                                     )
        Plaintiff,                                   )
                                                     )         Case No. 3:19-cv-00495-DRL-MGG
v.                                                   )
                                                     )
CITY OF SOUTH BEND and RYAN O’NEILL                  )
In his individual capacity and his official capacity )
As a Sergeant of the South Bend Police Department )
                                                     )
        Defendants,                                  )


                                 PETITION TO INTERVENE
       Comes now the St. Joseph County Metro Homicide Unit, by it’s attorney James F. Groves,

and respectfully petitions the Court to intervene in this case for the purpose of opposing a Subpoena

and Motion to Compel Response and states:

       1. The St. Joseph County Metro Homicide Unit is a division of the St. Joseph County

           Indiana Prosecuting Attorney’s Office and has been served with a Subpoena to produce

           certain documents, information, or objects to permit inspection of the homicide

           investigation surrounding death of Eric Logan.

       2. This petition is being filed pursuant to F.R.C.P. 24, as the Plaintiff in this case has filed

           a Motion to Compel Responses to the Non-Party Discovery and a Motion for Sanctions.

       3. Plaintiff’s Motion to Compel contains a copy of the Subpoena to St. Joseph Metro

           Homicide Unit, as well as the responsive letter objecting to the subpoena. Therefore,

           Petitioner has a right under Rule 24 to intervene in this case for the purpose of opposing

           the Motion to Compel.
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       4. The Intervener is opposing the Motion to Compel on the basis of it’s ongoing criminal

           investigation which is subject to privilege under existing case law. Intervener will be

           filing a separate pleading in response to the Motion to Compel, should the Court grant

           this intervention.

       WHEREFORE, Petitioner prays that the Court allow intervention for the purpose of

responding to the Motion to Compel.


       Dated December 13, 2019.

                                             /s/James F. Groves
                                             James F. Groves (7329-71)
                                             Lee Groves & Zalas
                                             205 W. Jefferson Blvd., Suite 502
                                             South Bend IN 46601
                                             Telephone: (574) 232-5923
                                             Facsimile: (574) 232-5942
                                             Attorney for St. Joseph County
                                             Homicide Unit




                                CERTIFICATE OF SERVICE

The undersigned certifies that a true and correct copy of the above and foregoing document was
filed electronically with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to all parties of record, on December 13, 2019:



                                                    /s/James F. Groves
                                                     James F. Groves
